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 4   Telephone: (916) 554-2722
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 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    )
                                  ) CR S-07-056 LKK
12                    Plaintiff, )
                                  ) STIPULATION AND ORDER RESETTING
13                v.              ) STATUS CONFERENCE AND EXCLUDING
                                  ) TIME UNDER THE SPEEDY TRIAL ACT
14   NATOSHA SAUNDERS,            )
                                  ) DATE: October 30, 2007
15                    Defendant. ) TIME: 9:30 a.m.
     _____________________________) CTRM: Honorable Lawrence K. Karlton
16
17          The United States of America, through ounsel of record,
18   Assistant United States Attorney Robin R. Taylor, and defendant
19   Natosha Saunders, through her counsel of record, Shari Rusk Esq.,
20   hereby submit this stipulation and proposed order resetting the
21   status conference held on October 10, 2007 to October 30, at 9:30
22   a.m.
23          Counsel further request that time be excluded from October 10,
24   2007, to October 30, 2007, from computation of time
25   within which the trial of this case must be commenced, pursuant 18
26   U.S.C. § 3161(h)(8)(B)(iv) (Local code T4 - to give counsel
27   reasonable time to prepare).       Ms. Rusk represented she needs time
28   ///

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           Case 2:07-cr-00056-LKK Document 61 Filed 10/30/07 Page 2 of 2


 1   review discovery and to discuss case resolution.         The defendant is
 2   is aware of the request for continuance and approves of it.
 3                                              Respectfully submitted,
 4                                              McGREGOR W. SCOTT
                                                United States Attorney
 5
 6   Dated: October 29, 2007          By:        /s/
                                                ROBIN R. TAYLOR
 7                                              Assistant U.S. Attorney
                                                Attorneys for Plaintiff
 8
 9   DATED: October 28, 2007          By:       /s/
                                                Shari Rusk
10                                              Attorney for Defendant
11
12
13                                      ORDER
14        For good cause shown above,
15        IT IS SO ORDERED.
16   DATED: October 29, 2007
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